                     Case 3:19-mj-08640-MAT Document 1 Filed 09/26/19 Page 1 of 4

A0 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                    forthe
                                                                                                                                     A!.
                                                       Western District of Texas
                                                                                                                            .    :         "0
                  United States of America
                               V.                                     )

                                                                      )      Case No.
              Solange FERREIRA DE LAIA
                Marcio ALVES DE SENA
                                                                                                                 O
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best      of my knowledge and belief.
On or about the date(s) of                 September 22, 2019                in the county of               El Paso             in the
     Western           District of             Texas            ,   the defendant(s) violated:

            Code Section                                                        Offense Description
18 u.s.c 371                                    Two or more persons conspire to commit any offense against the United
                                                States, to defraud the United States, or any agency, in any manner or for any
                                                purpose.




         This criminal complaint is based on these facts:
See Attached Affidavit




             Continued on the attached sheet.



                                                                                                 Complainant 's signature

                                                                                             R. Mccarter, HSI Special Agent
                                                                                                  Printed nam eandUtle

Sworn to before me and signed in my presence.


Date:             09/26/2019                                                            Miguel Torres, U.S. Magistrate Judge
                                                                                                   Judge s signature

City and state:                          El Paso, Texas
                                                                                                  Printed name and title
           Case 3:19-mj-08640-MAT Document 1 Filed 09/26/19 Page 2 of 4



                                            Affidavit

On September 22, 2019, Marcio ALVES DE SENA and Solange FERREIRA DE LAIA entered
the United States from Mexico without inspection at the Rio Grande River approximately . 18
miles west of the Porte Del Norte Port of Entry, in El Paso, Texas. ALVES DE SENA and
FERREIRA DE LAJA falsely claimed to United States Border Patrol (USBP) agents they were
traveling with their 15-year-old daughter E.V.L.D. The purported family are citizens and
nationals of Brazil with no claim to United States Citizenship or legal immigration status as a
Lawful Permanent Resident or otherwise.

ALVES DE SENA and FERREIRA DE LAIA were part of a large group who were encountered
by USBP agents as soon as they crossed into the United States. ALVES DE SENA and
FERREIRA DE LAIA initially claimed to USBP agents they were travelling with their daughter
to Massachusetts and presented a passport for their alleged daughter, E.V.L.D., listing ALVES
DE SENA and FERREIRE DE LAIA as her parents. ALVES DE SENA, FERREIRA DE LAIA
and E.V.L.D. were processed through immigration as a family unit. During initial processing it
was revealed to USBP agents by FERREIRA DE LAJA that she and ALVES DE SENA were not
married. ALVES DE SENA was separated from FERREIRA DE LAJA and E.V.L.D. and
further processed as a previously removed alien. FERREIRA DE LAIA and E.V.L.D. were
referred to Homeland Security Investigations (HSI) Special Agents to verify the family
relationship.

On September 23, 2019, HSI Special Agents verified with a document expert from the HSI
Forensic Document Laboratory (FDL) on site that a Brazil National Identification card for
E.V.L.D. provided with her passport had inconsistencies with known genuine Brazil National
Identification cards.

On September 23, 2019, at approximately 1520 hours, HSI Special Agent (SA) Troy McCarter
and Border Patrol Agent Intelligence (BPA-I), Carlos Castaneda, presented a Portuguese version
of the Miranda Warnings to FERREIRA DE LAIA. Border Patrol Law Enforcement Information
System Specialist (LEISS) Jorge Berbel, native Portuguese speakers, assisted with the translation
and asked her if she could read in her native language, Portuguese, to which she stated she did.
After reading, FERRJERA DE LAJA stated she understood her rights and agreed to speak to SA
McCarter and BPA-I Castaneda without an attorney present by signing the document.
FERREIRA LAIA was given a Portuguese version to read of the consequences of violating Title
18 USC 1001, Lying to a Federal Law Enforcement Agent, to which she stated she understood
and signed.

At approximately 1525 hours, SA McCarter and BPA-I Castaneda asked FERRIER DE LAIA
about the Brazilian passport and National Identification card presented for her alleged daughter,
E.V.L.D. FERREIRA DE LAIA stated she and ALVES DE SENA knowingly and intentionally
           Case 3:19-mj-08640-MAT Document 1 Filed 09/26/19 Page 3 of 4



presented the passports to obtain an immigration benefit as a family unit. FERRIERA DE LAIA
stated E.V.L.D. is not related to her. FERRIERA DE LAJA stated E.V.L.D.'s ID is fraudulent
and was used to obtain a Brazilian passport with false information under the name listed on the
fraudulent ID. FERRIERA-DE LAIA stated her passport was real. FERRIERA-DE LAIA
stated she did not get E.V.L.D. her passport, rather she signed a form provided to her and the
form was used to get E.V.L.D. a passport listing her and Marcio ALVES DE SENA as the
parents. FERRIERA-DE LAJA, ALVES-DE SENA, and E.V.L.D. travelled and entered the US
together as family. ALVES DE SENA was separated from the group during initial processing
after he was flagged as having a warrant and she stated they were not married. FERRIERA-DE
LAJA stated ALVES DE-SENA knowingly and willingly participated in the scheme and also is
not related to E.V.L.D. FERREIRA DE LAIA provided E.V.L.D.'s real name, E.V.L.G., Date of
Birth XX/XX!2004. FERREIRA stated E.V.L.D.'s mother lives in Massachusetts and she had
made the arrangements with individuals in Brazil to have E.V.L.D. brought to the United states.
FERREIRA DE LAIA admitted to being previously removed in 2005 and was relying on the
scheme to come back the United States.

On September 24, 2019, at approximately 0810 hours, SA McCarter and BPA Joseph Elliott
presented a Portuguese version of the Miranda Warnings to Marcio ALVES DE SENA. Border
Patrol LEISS Jorge Berbel, native Portuguese speakers, assisted with the translation and asked
him if he could read in his native language, Portuguese, to which he stated he did. After reading,
ALVES DE SENA stated he understood his rights and agreed to speak to SA McCarter and BPA
Elliott without an attorney present by signing the document. ALVES DE SENA was given a
Portuguese version to read of the consequences of violating Title 18 USC 1001, Lying to a
Federal Law Enforcement Agent, to which he stated he understood and signed.

At approximately 0815 hours, SA McCarter and BPA Elliott asked ALVES DE SENA about the
Brazilian passport and National Identification card presented for his alleged daughter, E.V.L.D.
ALVES DE SENA stated he and FERREIRA DE LAIA knowingly and intentionally presented
the passports to obtain an immigration benefit as a family unit. ALVES DE SENA stated
E.V.L.D. is not related to him. ALVES DE SENA stated E.V.L.D.'s ID is fraudulent and was
used to obtain a Brazilian passport with false information under the name listed on the fraudulent
ID. ALVES DE SENA stated his passport was real. ALVES DE SENA stated he had made
arrangements with individuals in Brazil to come United States and that they had made
arrangements for him to meet E.V.L.D., on September 9, 2019, at a passport office in Brazil
where they used a fake Brazil National Identification card to get her a genuine Brazil passport
listing ALVES DE SENA and FERREIRA DE LAIA as her parents. ALVES DE SENA stated
he was familiar with E.V.L.D. and her mother because they are from the same town in Brazil.
FERRIERA-DE LAIA, ALVES-DE SENA, and E.V.L.D. travelled and entered the US together
as family. ALVES DE SENA stated he was separated from the group during initial processing
after he was flagged as having a warrant and FERREIRA DE LAIA stated they were not
married. ALVES DE-SENA stated FERREIRA DE LAIA knowingly and willingly participated
in the scheme and is not related to E.V.L.D. as well. ALVES DE SENA stated E.V.L.D.'s
mother lives in Randolph, Massachusetts and she had made the arrangements with individuals in
Brazil to have E.V.L.D. brought to the United states. ALVES DE SENA admitted to being
          Case 3:19-mj-08640-MAT Document 1 Filed 09/26/19 Page 4 of 4



previously being ordered removed in 2006 and was relying on the scheme to come back the
United States.

A check of immigration data bases revealed that FERREIRA DE LAJA was encountered by and
placed into removal proceedings at Roma, Texas, July 10, 2005. FERREIRA was released on
her own recognizance. A check of immigration data bases revealed that ALVES DE SENA was
encountered by Border Patrol and placed in removal proceedings in 2003 and 2006.

Case Agent: Troy R. McCarter
